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11
     Attorneys for Plaintiff
12   INTERNATIONAL TECHNOLOGICAL
     UNIVERSITY FOUNDATION, INC.
13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                          SAN JOSE DIVISION
16
     INTERNATIONAL TECHNOLOGICAL                                Case No.   5:18-cv-06228-EJD
17   UNIVERSITY FOUNDATION, INC.,
                                                                Assigned to
18                         Plaintiff,                           The Hon. Edward J. Davila
19          v.                                                  JOINT STIPULATION AND
                                                                [PROPOSED] ORDER
20   KIRSTJEN M. NIELSEN, in her official capacity as           REGARDING STAY OF
     Secretary of the Department of Homeland Security,          ADMINISTRATIVE
21   UNITED STATES OF AMERICA, UNITED                           PROCEEDINGS, BRIEFING
     STATES DEPARTMENT OF HOMELAND                              SCHEDULES FOR MOTION
22   SECURITY, UNITED STATES IMMIGRATION                        FOR PRELIMINARY
     AND CUSTOMS ENFORCEMENT, STUDENT                           INJUNCTION AND MOTION TO
23   AND EXCHANGE VISITOR PROGRAM, and                          DISMISS, AND CONSOLIDATED
     DOES 1 through 10, inclusive,                              HEARINGS
24

25                         Defendants.
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     STIPULATION REGARDING STAY OF ADMINISTRATIVE PROCEEDINGS
     Case No. 18-CV-06228-EJD
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 1          Plaintiff International Technological University Foundation, Inc. (“ITU”) and Defendants

 2   Kirstjen M. Nielsen, in her official capacity as Secretary of the Department of Homeland

 3   Security, United States of America, U.S. Department of Homeland Security, and U.S.

 4   Immigration and Customs Enforcement, Student and Exchange Visitor Program (collectively,

 5   “Defendants”) hereby stipulate as follows:

 6          WHEREAS on October 11, 2018, ITU filed a Complaint alleging violations of the Due

 7   Process Clause of the Fifth Amendment and the Administrative Procedure Act and seeking

 8   declaratory, injunctive, and mandamus relief pursuant to 28 U.S.C. §§ 1361, 1651, & 2201 and 5

 9   U.S.C. § 706;

10          WHEREAS on October 11, 2018, ITU’s counsel notified the United States Attorney’s

11   Office of ITU’s intent to file an emergency application for a Temporary Restraining Order (TRO)

12   later that same day;

13          WHEREAS the United States Attorney’s Office, on behalf of Defendants, requested that

14   ITU postpone filing the application for a TRO while Defendants agree to a stay of proceedings in

15   the administrative adjudication of ITU’s certification to enroll nonimmigrant students;

16          WHEREAS the United States Attorney’s Office, on behalf of Defendants, agreed to a stay

17   of proceedings in the administrative adjudication of ITU’s certification to enroll nonimmigrant

18   students pending a ruling on ITU’s motion for a preliminary injunction (“PI Motion”) if ITU

19   agreed not to file an application for a TRO;

20          WHEREAS the Defendants intend to file a motion to dismiss the Complaint (“Motion to

21   Dismiss”); and

22          WHEREAS the parties agree that the most efficient use of judicial resources would be to

23   consider the PI MOTION contemporaneously with the Motion to Dismiss;

24          IT IS HEREBY STIPULATED by and between Plaintiff ITU and Defendants that:

25          (1)       Defendants shall stay any further review, processing, or adjudication of ITU’s

26                    certification to enroll nonimmigrant students, including, but not limited to, any and

27                    all pending administrative proceedings related to the Withdrawal on Notice, dated

28                    April 17, 2018;

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 1          (2)    The above-referenced stay shall be lifted when the District Court issues an order

 2                 ruling on the above-referenced PI Motion;

 3          (3)    Plaintiff will not file an emergency application for TRO so long as Defendants

 4                 remain in compliance with the terms of this Stipulation;

 5          (4)    On December 17, 2018, Defendants will file the Motion to Dismiss and all

 6                 supporting papers, and Plaintiff will file the PI Motion and all supporting papers;

 7          (5)    On January 25, 2019, Defendants will file their opposition to the PI Motion, and

 8                 Plaintiff will file its opposition to the Motion to Dismiss;

 9          (6)    On February 22, 2019, Defendants will file any reply in support of the Motion to

10                 Dismiss, and Plaintiff will file any reply in support of the PI Motion; and

11          (7)    The parties request that the hearings on the Motion to Dismiss and PI Motion be

12                 set for March 14, 2019.

13

14   DATED:        October 29, 2018

15
     MORRISON & FOERSTER LLP                         UNITED STATES ATTORNEY’S OFFICE
16

17
     By:            /s/ Joshua Hill Jr.              By:             /s/ Rebecca Falk
18                 JOSHUA HILL JR.                                   REBECCA FALK
19         Attorneys for Plaintiff                         Attorneys for Defendants
           INTERNATIONAL                                   KIRSTJEN M. NIELSEN, IN HER
20         TECHNOLOGICAL UNIVERSITY                        OFFICIAL CAPACITY AS
           FOUNDATION, INC.                                SECRETARY OF THE
21                                                         DEPARTMENT OF HOMELAND
                                                           SECURITY, UNITED STATES OF
22                                                         AMERICA, UNITED STATES
                                                           DEPARTMENT OF HOMELAND
23                                                         SECURITY, UNITED STATES
                                                           IMMIGRATION AND CUSTOMS
24                                                         ENFORCEMENT, STUDENT
                                                           AND EXCHANGE VISITOR
25                                                         PROGRAM
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     STIPULATION REGARDING STAY OF ADMINISTRATIVE PROCEEDINGS
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 1                                         [PROPOSED] ORDER

 2   Having reviewed the above Stipulation and Proposed Order Regarding Stay of Administrative

 3   Proceedings, Briefing Schedules for Motion for Preliminary Injunction and Motion to Dismiss,

 4   and Consolidated Hearings, IT IS HEREBY ORDERED that:

 5             (1)   Defendants shall stay any further review, processing, or adjudication of ITU’s

 6   certification to enroll nonimmigrant students, including, but not limited to, any and all pending

 7   administrative proceedings related to the Withdrawal on Notice, dated April 17, 2018;

 8             (2)   The above-referenced stay shall be lifted when the Court issues an order ruling on

 9   the Plaintiff’s Motion for a Preliminary Injunction (“PI Motion”);

10             (3)   Plaintiff will not file an emergency application for a Temporary Restraining Order

11   so long as Defendants remain in compliance with the terms of this Stipulation;

12             (4)   On December 17, 2018, Defendants will file their Motion to Dismiss and all

13   supporting papers (“Motion to Dismiss”), and Plaintiff will file its PI Motion and all supporting

14   papers;

15             (5)   On January 25, 2019, Defendants will file their opposition to the PI Motion, and

16   Plaintiff will file its opposition to the Motion to Dismiss;

17             (6)   On February 22, 2019, Defendants will file any reply in support of the Motion to

18   Dismiss, and Plaintiff will file any reply in support of the PI Motion; and

19             (7)   The hearings on the Motion to Dismiss and PI Motion are set for March 14, 2019,

20   at 9:00 a.m.

21   IT IS SO ORDERED.

22
     DATED: _________________
23                                                      HON. EDWARD J. DAVILA
                                                  UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION REGARDING STAY OF ADMINISTRATIVE PROCEEDINGS
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 1                           ATTESTION (CIVIL LOCAL RULE 5-1(I)(3))

 2          In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
 3   document has been obtained from the signatories.
 4

 5   Dated: October 29, 2018                       MORRISON & FOERSTER LLP

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 7                                                        /s/ Joshua Hill Jr.
 8                                                           Joshua Hill Jr.

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     STIPULATION REGARDING STAY OF ADMINISTRATIVE PROCEEDINGS
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